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                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                                                                        April 15, 2024
                      UNITED STATES DISTRICT COURT
                                                                     Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

CARLTON L. HATTON, JR., et al.,        §
                                       §
        Plaintiffs,                    §
                                       §
VS.                                    §              3:24-cv-64
                                       §
FREEDOM MORTGAGE, et al.,              §
                                       §
        Defendant.                     §

                                   ORDER

        Before the court are Roy Castillo’s (Dkt. 6) and Mauricio and Carmen
Pinto’s (Dkt. 9) motions to dismiss. The court will grant the motions.
        The Pintos—who are Texas residents—argue, among other things, that
the court lacks subject-matter jurisdiction in this matter because “[t]here is
no diversity between all the parties[,] and no discernible [f]ederal [q]uestion
is presented.” Dkt. 9 ¶ 8. The plaintiffs—at least one of whom is a Texas
resident, see Dkt. 1 at 4—respond that this case “can be best addressed in
th[is] forum and under the purview of [f]ederal jurisdiction due to there
being companies from different states involved.” Dkt. 12.
        Given the lack of complete diversity, the court hereby dismisses this
case.
        Signed on Galveston Island this 15th day of April, 2024.



                                        __________________________
                                        JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE
